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                                                                 March 6, 2025

BY CM/ECF

Clifton Cislak, Clerk of Court
U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse
333 Constitution Avenue NW
Washington, D.C. 20001


                    Re:   Dellinger v. Bessent, No. 25-5052

Dear Mr. Cislak:

       I write on behalf of Plaintiff-Appellee Special Counsel Hampton Dellinger to
notify the Court that Mr. Dellinger has decided not to pursue judicial relief
recognizing his right to head the Office of Special Counsel.1 We are still negotiating
with the government regarding the proper next steps to bring this litigation to an end.
However, Mr. Dellinger’s final and public decision means that there is presently no
live appeal for this Court to address. See United States v. China Telecom (Americas)
Corp., 55 F.4th 939, 943 (D.C. Cir. 2022).




1
  See Josh Gerstein, Federal workforce watchdog who was fired by Trump drops
legal fight to get his job back, Politico (Mar. 6, 2025),
https://www.politico.com/news/2025/03/06/federal-workforce-watchdog-who-was-
fired-by-trump-drops-legal-fight-to-get-his-job-back-00215891.
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Hecker Fink LLP                                                              2

                                                    Respectfully Submitted,

                                                    /s/ Joshua A. Matz
                                                    Joshua A. Matz

                                                    Counsel for Plaintiff-
                                                    Appellee Hampton
                                                    Dellinger

    cc: All counsel of record (via CM/ECF)
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Hecker Fink LLP                                                                    3

                          CERTIFICATE OF COMPLIANCE

          This response complies with the type-volume limit of Federal Rule of

    Appellate Procedure 27(d)(2)(A) because it contains 115 words. This document

    complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and the type-

    style requirement of Fed. R. App. P. 32(a)(6) because this document has been

    prepared using Microsoft Word in 14-point Times New Roman, a proportionally

    spaced typeface.



     DATED: March 6, 2025                        /s/ Joshua A. Matz
                                                 Joshua A. Matz
                                                 Counsel for Plaintiff-Appellee
                                                 Hampton Dellinger
